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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------ x
                                                                   :     Docket No. 15-CV-07001
SAFA ABDULRAHMAN, JAMIE DELLASALA,
and CHRISTINE MAZOLA,                                              :
                                                                            7.1 STATEMENT
                                             Plaintiffs,          :
                v.                                                :
EMPIRE STATE BANK and
                                                                  :
THERESA POMMERENK, individually,

                                             Defendants.
------------------------------------------------------------------ x

         Pursuant to Rule 7.1 of the local rules of the United States District Court for the Southern

and Eastern Districts of New York and to enable judges and magistrates of the court to evaluate

possible disqualification or recusal, the undersigned counsel for EMPIRE STATE BANK

certifies that ES Bancshares, Inc. is the publicly held holding company of Empire State Bank.

The undersigned counsel further certifies that there are no other corporate parents, affiliates

and/or subsidiaries of said party which are publicly held.

Dated:            New York, New York
                  January 7, 2016
                                                      Yours, etc.

                                                      WILSON, ELSER, MOSKOWITZ,
                                                      EDELMAN & DICKER LLP

                                                      By:      ______s/Nancy V. Wright_____________
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